Case 1:19-cv-22702-KMW Document 409 Entered on FLSD Docket 05/22/2023 Page 1 of 8




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                    CASE NO.: 1:19-CV-22702-KMW

   NOAH MALGERI, KAYLYN WOLF,
   BILL WILSON, SHANNON
   HOOD, and ROBERT MCKEOWN, on behalf of
   themselves and all others similarly situated,

          Plaintiffs,

   v.

   VITAMINS BECAUSE, LLC, CT HEALTH
   SOLUTIONS LLC, and ASQUARED BRANDS LLC,

               Defendants.
   ________________________________________/

       DEFENDANTS VITAMINS BECAUSE, LLC AND CT HEALTH SOLUTIONS LLC’S
        REPLY TO PLAINTIFFS’ OBJECTIONS AND OPPOSITION TO DEFENDANTS
       VITAMINS BECAUSE LLC’S, CT HEALTH SOLUTIONS LLC’S AND ASQUARED
            BRANDS LLC’S MOTIONS FOR ATTORNEYS’ FEES AND COSTS

          Pursuant to Fed. R. Civ. P. 54(d), Local Rule 7.3(c), and Fla. Stat. § 501.201, et seq.,

   Defendants Vitamins Because, LLC and CT Health Solutions LLC’s (hereinafter collectively

   “Vitamins Because”) hereby file their Reply to Plaintiffs’ Objections and Opposition to

   Defendants Vitamins Because LLC’s, CT Health Solutions LLC’s, and Asquared Brands LLC’s

   Motions for Attorneys’ Fees and Costs (“Plaintiffs’ Opposition”). [Dkt 407]1 In support, Vitamins

   Because states:




   1
    For the sake of judicial economy, Vitamins Because also incorporates by reference Defendant
   Asquared Brand LLC’s Reply Memorandum of Law in Support of Its Motion for Attorneys’
   Fees and Costs. [Dkt 408]
                                                1
                                      Johnson Anderson, PLLC
Case 1:19-cv-22702-KMW Document 409 Entered on FLSD Docket 05/22/2023 Page 2 of 8




       I.        CLARIFICATION OF PROCEDURAL HISTORY

               In their Opposition, Plaintiffs make a number of misstatements about the procedural

    history of this matter and the applicable law. For example, in support of their argument that an

    award of fees is inappropriate here, Plaintiffs state that this Court previously found “that the

    claims, particularly the FDUTPA claim, were properly asserted.” Opp. at p.1. That is simply

    not correct. In support of their assertion, Plaintiffs site this Court’s Omnibus Order from June

    2021. [Dkt 220] The Omnibus Order, however, does not address the merits of any of Plaintiffs’

    claims. Nor does it specifically address the FDUTPA claim at all. Rather, the Order (1) denied

    some of the defendants’ motions to compel arbitration, (2) found that equitable estoppel did not

    apply to an arbitration agreement, (3) found that Defendants were not third-party beneficiaries

    of certain Amazon arbitration provisions, and (4) held that the Court had personal jurisdiction

    over one of the defendants. See Id. Plaintiffs’ FDUTPA claim was not discussed in any

    substantive way whatsoever and the assertion otherwise simply supports why an award of fees

    is appropriate here.

            Plaintiffs next assert in support of their argument that fees are inappropriate that Vitamins

    Because “sought a frivolous petition for mandamus before the Eleventh Circuit.” Opp. at p. 2.

    In reality, however, the Eleventh Circuit specifically held that the “petitioners [Vitamins

    Because] have established a non-frivolous claim….” See In re: Vitamins Because, LLC, Case

    No, 21-11409 (11th Cir. 2021). Following the Eleventh Circuit’s ruling and a subsequent order

    of this Honorable Court, Vitamins Because’s Petition became moot and was appropriately

    voluntarily dismissed.

               Plaintiffs also state that fees should not be awarded because all of Vitamins Because’s

    Motions to Dismiss were denied. Opp. at p. 1-2. Plaintiffs are wrong again. Plaintiffs’ Second



                                                   2
                                         Johnson Anderson, PLLC
Case 1:19-cv-22702-KMW Document 409 Entered on FLSD Docket 05/22/2023 Page 3 of 8




    Amended Complaint was dismissed by this Honorable Court for failure to properly invoke

    federal court jurisdiction under the Class Action Fairness Act (“CAFA”). Plaintiffs then filed

    the fourth iteration of their complaint, which is the operative complaint that was contentiously

    litigated over approximately three years. Despite the assertions in the Third Amended Complaint

    that products purchased by the plaintiffs did not contain the amount of active ingredient stated

    on the package, none of the plaintiffs’ products were tested to determine the amount of active

    ingredient. As a result, Plaintiffs could not establish an injury in fact and the case was dismissed

    with prejudice.

        II.     VITAMINS BECAUSE’S MOTION WAS TIMELY

        Plaintiffs argue that Defendants’ Motions were untimely but provide no case law to support

   that notion. None of the cases that Plaintiffs cite involve fees under a FDUTPA claim. In fact, the

   plain language of the statute belies Plaintiffs’ interpretation. Fla. Stat. § 501.2105(1) provides that

   “in any civil litigation resulting from an act or practice involving a violation of this part…the

   prevailing party, after judgment in the trial and exhaustion of all appeals, if any, may receive his

   or her reasonable attorney’s fees and costs from the nonprevailing party.”

        Accordingly, federal courts in Florida have held that a motion for attorneys’ fees under

   FDUTPA should not be filed until the exhaustion of any appeals, or the time for any appeals of

   the subject judgment or final order. See, e.g., Procaps S.A. v. Patheon Inc., 157 F. Supp. 3d 1199,

   1200 (S.D. Fla. 2016) (holding that the “statute does seem to contemplate that the motion be filed

   after the expiration of the appeal period.”); CrossPointe, LLC v. Integrated Computing, Inc., 2005

   WL 1677460 (M.D. Fla. 2005) (“Accordingly, the Court will deny CrossPointe's motion for

   attorney's fees pursuant to FDUTPA without prejudice to its right to renew the request at such time

   as all appeals of the judgment in this case have been exhausted”); see also DJ Lincoln Enterprises,



                                                  3
                                        Johnson Anderson, PLLC
Case 1:19-cv-22702-KMW Document 409 Entered on FLSD Docket 05/22/2023 Page 4 of 8




   Inc. v. Google, LLC, 2022 WL 4287640 *4 (S.D. Fla. 2022); Kipu Sys. LLC v. Zencharts LLC,

   2021 WL 1891710 (S.D. Fla. 2021); Citibank N.A. v. Nat’l Arb. Council, Inc. 2006 WL 2691528

   *7 (M.D. Fla. 2006).

            Notably, after arguing that Defendants’ Motions were filed late, Plaintiffs then argue that the

   Motions are premature because Plaintiffs have not exhausted their appellate rights.2 Specifically,

   Plaintiffs state that FDUTPA precludes an award of attorneys’ fees “until after entry of judgment

   and the appellate process, if any, has run its course.” Opp. at p. 15 citing M.G.B. Homes, Inc. v.

   Ameron Homes, Inc., 30 F. 3d 113, 115 (11th Cir. 1994)(acknowledging that FDUTPA requires a

   party seeking attorneys’ fees to wait until all appeals are exhausted) and Heindel v. Southside

   Chrysler-Plymouth, Inc., 476 So. 2d 266 (Fla. 1st DCA 1986)(vacating an award of attorneys’ fees

   under FDUTPA as premature when motion was filed prior to exhaustion of appellate rights).

   Vitamins Because’s Motion was filed timely in accordance with FDUTPA, Fed. R. Civ. P. 54, and

   Local Rule 7.3.

            III.     VITAMINS BECAUSE IS A PREVAILING PARTY

              On September 30, 2022, this Honorable Court granted Vitamins Because’s Motion to

   Dismiss for Lack of Article III Standing [Dkt. 267] and dismissed Plaintiffs’ purported class action

   with prejudice. [Dkt. 383] Vitamins Because is clearly a prevailing party under FDUTPA. Indeed,

   under strikingly similar circumstances this Honorable Court and the Eleventh Circuit have found

   that “a defendant who prevails on a motion to dismiss based on lack of standing is a prevailing

   party for the purposes of § 501.2105.” Reilly v. Chipotle Mexican Grill, Inc., 2018 WL 1883086

   *3 (S.D. Fla. 2018) quoting Big Tomato v. Tasty Concepts, Inc., 972 F. Supp. 662, 662 n.1 (S.D.

   Fla. 1997); see also Reilly v. Chipotle Mexican Grill, Inc., 711 Fed. Appx. 525, 528-531 (11th Cir.



   2
       Vitamins Because does not agree that Plaintiffs have not exhausted their appellate rights.

                                                           4
                                                 Johnson Anderson, PLLC
Case 1:19-cv-22702-KMW Document 409 Entered on FLSD Docket 05/22/2023 Page 5 of 8




   2017) (affirming summary judgment against the plaintiff for lack of standing due to inability to

   establish actual damages and recognizing defendant as prevailing party under FDUTPA); M.G.B.

   Homes, Inc. v. Am. Homes, Inc., 30 F.3d 113 (11th Cir. 1994) (finding that defendant is prevailing

   party under FDUTPA when the plaintiff’s claims were dismissed for lack of standing).

          The cases cited by Plaintiff in support of their argument that Defendants here are not

   prevailing parties under FDUTPA are inapposite. For example, in Millennium Indus. Network v.

   Hitti, 2014 WL 2042321 (S.D. Fla. 2014), the court found that a dismissal for lack of personal

   jurisdiction did not invoke the fee provisions under FDUTPA because the case was not dismissed

   with prejudice. Rather, the court specifically pointed out that the plaintiff could potentially file

   his claim in another forum that had personal jurisdiction over the defendant(s). Here, on the other

   hand, Plaintiffs’ claims were all dismissed with prejudice because they could not establish an

   injury fact as a result of their failure to test their individual products for purported defects.

   Vitamins Because is a prevailing party under FDUPTA and, therefore, is entitled to recover its

   reasonable attorneys’ fees for the reasons described in its Motion for Attorneys’ Fees.

        IV.     VITAMINS BECAUSE COMPLIED WITH LOCAL RULE 7.3(a)

          Vitamins Because complied with the substantive requirements of Local Rule 7.3(a).

   Vitamins Because timely served its motion, timely met and conferred with Plaintiffs, and timely

   filed its verified motion attesting to the fees and costs being sought. Plaintiffs, on the other hand,

   failed to comply with Local Rule 7.3(a). Indeed, Plaintiffs made no effort to discuss the time

   records or the reasonableness of the rates requested, or the fees and costs being sought in the

   Motion.




                                                  5
                                        Johnson Anderson, PLLC
Case 1:19-cv-22702-KMW Document 409 Entered on FLSD Docket 05/22/2023 Page 6 of 8




        V.        VITAMINS BECAUSE IS ENTITLED TO RECOVER ITS FEES

        Plaintiffs filed a purported nationwide class action lawsuit against seven defendants that they

   litigated aggressively for more than three years alleging that Defendants sold or manufactured

   supplements that lacked the amount of active ingredient stated on the products’ labels. Neither

   before nor during the lawsuit, however, did any of the plaintiffs have the product they purchased

   tested to determine the amount of active ingredient present in the product(s) they purchased. [Dkt

   383 at 25-28]     The Court noted that even “[b]y their own accounts, none of the named

   Plaintiffs….tested any of the subject SAM-e product they purchased from Defendants.” [Dkt 383

   at p. 28]   As this Honorable Court explained “more than three (3) years of litigation have not

   resulted in Plaintiffs being able to clear the threshold jurisdictional bar of Article III standing.

   Even when viewed in the light most favorable to Plaintiffs, the record does not demonstrate that

   the named Plaintiffs have suffered an injury in fact.” [Dkt 383 at p. 16] Indeed, “[n]ot a single

   named Plaintiff can demonstrate that the specific SAM-e product they purchased was deficient.”

   [Dkt. 383 at p.17] On the other hand, “Plaintiffs’ own expert has testified that some of the tested

   SAM-e products met the label requirements; testing performed by Plaintiffs actually revealed that

   some of the subject SAM-e products did meet the label specifications.” [Dkt 383 at p. 17] See,

   e.g., Healthcare Resources Mgmt. Gp., LLC, 2022 WL 1537752 at * 9 (finding that the plaintiff

   should “face the consequences of maintaining” an unsupported claim.).                 Under these

   circumstances, an award of attorneys’ fees is consistent with the intent of FDUTPA and

   appropriate.




                                                 6
                                       Johnson Anderson, PLLC
Case 1:19-cv-22702-KMW Document 409 Entered on FLSD Docket 05/22/2023 Page 7 of 8




             VI.   CONCLUSION

             Based on the foregoing, and for the reasons stated in its Motion for Fees and Costs,

   Vitamins Because is a prevailing party in this litigation for purposes of recovery of attorneys’ fees

   and costs under the Florida Deceptive and Unfair Trade Practices Act. A balance of the equities

   weighs in favor of awarding Vitamins Because its reasonable attorneys’ fees and costs in this

   action.


   Dated: May 22, 2023                            /s Scott W. Anderson
                                                  David S. Johnson     FBN 096423
                                                  Scott W. Anderson FBN 738311
                                                  JOHNSON ANDERSON, PLLC
                                                  2011 W Cleveland Street, Suite F
                                                  Tampa, Florida 33606
                                                  Telephone: (813) 377-2499
                                                  Fax: (813) 330-3156
                                                  djohnson@jdalegal.com
                                                  sanderson@jdalegal.com
                                                  aglisson@jdalegal.com

                                                  Counsel for Vitamins Because and CT
                                                  Health Solutions

                                    CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on this 22nd day of May, 2023, I electronically filed the

   foregoing with the Clerk of Court using the CM/ECF system, which will send a notification of this

   filing to the following counsel of record on the attached service list.

                                                  /s/Scott W. Anderson




                                            SERVICE LIST

   Joshua H. Eggnatz                                             Brendan H. Little
   FBN: 67926                                                    Sean M. O’Brien
   EGGNATZ PASCUCCI, P.A.                                        LIPPES MATHIAS WEXLER, et al.
   7450 Griffin Road                                             50 Fountain Plaza, Suite 1700

                                                  7
                                        Johnson Anderson, PLLC
Case 1:19-cv-22702-KMW Document 409 Entered on FLSD Docket 05/22/2023 Page 8 of 8




   Suite 230                                           Buffalo, NY 14202
   Davie, FL 33314                                     Tel: 716-853-5100
   Tel: 954-889-3359                                   blittle@lippes.com
   Fax: 954-889-5913                                   sobrien@lippes.com
   jeggnatz@justiceearned.com
   Attorneys for Plaintiffs                            Alessandro A. Apolito
                                                       LIPPES MATHIAS WEXLER, et al.
                                                       822 US Highway A1A, Suite 101
   Jay I. Brody (Admitted Pro Hac Vice )               Ponte Vedra Beach, FL 32082
   Gary S. Graifman (Admitted Pro Hac Vice)            Tel: 904-660-0020
   KANTROWITZ, GOLDHAMER &                             aapolito@lippes.com
   GRAIFMAN, P.C.                                      Attorneys for ASquared Brands
   747 Chestnut Ridge Road
   Chestnut Ridge, New York 10977
   Tel: 845-356-2570
   ggraifman@kgglaw.com
   jbrody@kgglaw.com
   Attorneys for Plaintiffs




                                             8
                                   Johnson Anderson, PLLC
